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4
     Attorney for Defendant
5    ANGELA SHAVLOVSKY

6

7                            IN THE UNITED STATES DISTRICT COURT

8                           FOR THE EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,               )   2:11-CR-00427 TLN
                                             )
11                              Plaintiff,   )   STIPULATION AND ORDER
                                             )   TO CONTINUE STATUS CONFERENCE
12   v.                                      )
                                             )
13                                           )
     ANGELA SHAVLOVSKY,                      )
14                                           )
                             Defendant.      )
15   __________________________________      )

16
                                         STIPULATION
17
           Plaintiff, United States of America, by and through its counsel,
18
     Assistant United States Attorney Jill Thomas, and defendant, Angela
19
     Shavlovsky, by and through her counsel, Erin J. Radekin, agree and stipulate
20
     to vacate the date set for status conference, May 21, 2015 at 9:30 a.m., in
21
     the above-captioned matter, and to continue the status conference to July 30,
22
     2015 at 9:30 a.m. in the courtroom of the Honorable Troy L. Nunley.
23
           The reason for this request is that additional time is needed by Ms.
24
     Radekin to complete review of discovery, for investigation, and for other
25
     defense preparation.    Additional discovery has been provided by the
26
     government in the last two weeks, so that discovery is currently through
27
     bates no. 72861.   Further, investigation has been delayed because Ms.
28



                                     Stipulation and Order - 1
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1    Radekin’s investigator-of-choice for this matter has been occupied with trial

2    preparation and jury trial in another mortgage fraud case.      The Court is

3    advised that Ms. Thomas concurs with this request and has authorized Ms.

4    Radekin to sign this stipulation on her behalf.

5          The parties further agree and stipulate that the time period from the

6    filing of this stipulation until July 30, 2015 should be excluded in

7    computing time for commencement of trial under the Speedy Trial Act, based

8    upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv), and Local

9    Code T4, to allow reasonable time necessary for effective defense

10   preparation.   It is further agreed and stipulated that the ends of justice

11   served in granting the request outweigh the best interests of the public and

12   the defendant in a speedy trial.

13         Accordingly, the parties respectfully request the Court adopt this

14   proposed stipulation.

15   IT IS SO STIPULATED

16   Dated: May 12, 2015                            BENJAMIN WAGNER
                                                    United States Attorney
17
                                           By:       /s/ Jill Thomas
18                                                  JILL THOMAS
                                                    Assistant United States Attorney
19

20   Dated: May 12, 2015                             /s/ Erin J. Radekin
                                                    ERIN J. RADEKIN
21                                                  Attorney for Defendant
                                                    ANGELA SHAVLOVKSY
22

23
                                            ORDER
24
           For the reasons set forth in the accompanying stipulation and
25
     declaration of counsel, the status conference date of May 21, 2015 at 9:30
26
     a.m. is VACATED and the above-captioned matter is set for status conference
27
     on July 30, 2015 at 9:30 a.m.    The Court finds excludable time in this matter
28



                                     Stipulation and Order - 2
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1    through July 30, 2015 under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4,

2    to allow reasonable time necessary for effective defense preparation.   For

3    the reasons stipulated by the parties, the Court finds that the interest of

4    justice served by granting the request outweigh the best interests of the

5    public and the defendant in a speedy trial. 18 U.S.C. §§ 3161(h)(7)(A),

6    (h)(7)(B)(iv).

7          IT IS SO ORDERED.

8    Dated: May 12, 2015

9                                           Troy L. Nunley
10
                                            United States District Judge

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                                  Stipulation and Order - 3
